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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            LUBBOCK DIVISION

George Stewart, on behalf of himself      §
and others similarly situated,            §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §           Case No. 5:23-cv-00007-H
                                          §
Texas Tech University Health              §
Sciences Center, et al.                   §
                                          §
      Defendants.                         §


                   TEXAS TECH DEFENDANTS’ RULE 12(b)(1)
                      AND 12(b)(6) MOTION TO DISMISS


TO THE HONORABLE U.S. DISTRICT JUDGE JAMES WESLEY HENDRIX:

      Defendants Texas Tech University Health Sciences Center (“TTUHSC”), Lori

Rice-Spearman, Steven Lee Berk, Lindsay Johnson, Hollie Stanton, and Jeri

Moravcik (collectively, the “Texas Tech Defendants”) jointly file this Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6). Plaintiff’s

claims against the Texas Tech Defendants fail for lack of standing and fail to state a

viable claim as a matter of law. Accordingly, the Court should dismiss them.




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                                 INTRODUCTION

      Plaintiff George Stewart (“Stewart”) claims that the Texas Tech Defendants

violate various statutory and constitutional provisions by allegedly using race and

sex as factors in their admission decisions. Stewart fails to allege any specific facts

that could support such a conclusory allegation. Because Stewart’s allegations do not

identify any policy or practice of the Texas Tech Defendants that show they use race

or sex in making admission decisions, there is no relief this Court could grant on

Stewart’s claims. As discussed in more detail below, Stewart lacks standing to sue

the Texas Tech Defendants, and he has also failed to state a claim against those

Defendants. This Court should therefore dismiss Stewart’s claims against the Texas

Tech Defendants in their entirety.

                                  BACKGROUND

      Admittance to TTUHSC’s School of Medicine is highly competitive. Only 180

applicants are typically admitted each year. App. 1 ¶ 2. Stewart first applied to

TTUHSC’s School of Medicine in the 2020–2021 application cycle. Id. However,

Stewart did not complete the secondary application required from all applicants, and

therefore he was not considered for an interview.         Id.   Stewart re-applied to

TTUHSC’s School of Medicine in the 2021–2022 cycle. Id. In that same application

cycle, a total of 5,252 applicants applied to TTUHSC’s School of Medicine.          Id.

TTUHSC granted personal interviews to a little over 900 of those applicants, and

Stewart was one of the applicants selected for interview. Id. Ultimately, TTUHSC




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admitted only 180 applicants that year. Id. Stewart was one of the 5,072 applicants

not selected for admission. Id.

      Stewart has now sued the Texas Tech Defendants (as well as numerous other

graduate schools in Texas, represented by other counsel). Stewart alleges that the

Texas Tech Defendants are “violating Title VI and Title IX by discriminating in favor

of female, black, and Hispanic applicants for admission and against whites, Asians,

and men.” ECF No. 1 at 18 ¶ 60. Stewart claims that this alleged conduct violates

not only Title VI and Title IX, but also 42 U.S.C. § 1981 and the Equal Protection

Clause of the Fourteenth Amendment. See id. at 18–23.

      Stewart does not allege that TTUHSC or any of the other Texas Tech

Defendants had any policy that permitted consideration of race or sex in admission

decisions. Further, Stewart does not allege that any of the Texas Tech Defendants or

any other specific individual at TTUHSC considered his own race or sex in evaluating

his medical school application. Instead, Stewart relies solely on statistical data to

infer the discrimination he alleges. His only factual allegation against the Texas Tech

Defendants is that according to certain data, “blacks and Hispanics are admitted with

much lower MCAT scores than whites or Asians, and . . . women are admitted with

lower MCAT scores than men.” Id. at 11 ¶ 41. As discussed below, this is completely

insufficient to show standing or to state a viable claim against the Texas Tech

Defendants.




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                             STANDARD OF REVIEW

Rule 12(b)(1):

       Under Federal Rule of Civil Procedure 12(b)(1), a defendant may move for

dismissal where a court lacks subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(1).

A plaintiff has the burden to establish subject matter jurisdiction. See Ramming v.

United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam). “The burden of proof

for a Rule 12(b)(1) motion to dismiss is on the party asserting jurisdiction.” Rodriguez

v. Tex. Comm’n of Arts, 992 F. Supp. 876, 879 (N.D. Tex. 1998). Where, as here, a

party files a motion to dismiss under both Rule 12(b)(1) and Rule 12(b)(6), “the court

should consider the Rule 12(b)(1) jurisdictional attack” first. Ramming, 281 F.3d at

161.

       Under Rule 12(b)(1), a defendant may challenge a court’s subject matter

jurisdiction through a “facial attack” or a “factual attack.”         See Paterson v.

Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). Where, as here, a defendant brings a

“facial attack,” the Court considers whether a plaintiff’s allegations are legally

sufficient to establish subject matter jurisdiction. Cell Sci. Sys. Corp. v. La. Health

Serv., 804 F. App’x 260, 263 (5th Cir. 2020) (per curiam).

Rule 12(b)(6):

       Under Federal Rule of Civil Procedure 12(b)(6), a defendant may move for

dismissal where a plaintiff fails “to state a claim upon which relief can be granted.”

Fed. R. Civ. P. 12(b)(6). To avoid dismissal under Rule 12(b)(6), a plaintiff must plead

sufficient facts to “state a claim to relief that is plausible on its face.” Ashcroft v.



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Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. While the Court must accept all

factual allegations as true, the Court “do[es] not accept as true conclusory allegations,

unwarranted factual inferences, or legal conclusions.” Plotkin v. IP Axess Inc., 407

F.3d 690, 696 (5th Cir. 2005); see also Iqbal, 556 U.S. at 679.

      When reviewing a motion to dismiss for failure to state a claim, “[t]he court’s

review is limited to the complaint, any documents attached to the complaint, and any

documents attached to the motion to dismiss that are central to the claim and

referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC,

594 F.3d 383, 387 (5th Cir. 2010); see also Sullivan v. Leor Energy, LLC, 600 F.3d

542, 546 (5th Cir. 2010). The Court may also consider facts subject to judicial notice

under Federal Rule of Evidence 201. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d

724, 735 (5th Cir. 2019).

                            ARGUMENT & AUTHORITIES

I.    Stewart lacks standing to sue the Texas Tech Defendants.

      To have standing to sue in federal court, a plaintiff must establish three

elements:

      First, the plaintiff must have suffered an injury in fact—an invasion of
      a legally protected interest which is (a) concrete and particularized and
      (b) actual or imminent, not conjectural or hypothetical. Second, there
      must be a causal connection between the injury and the conduct
      complained of—the injury has to be fairly traceable to the challenged
      action of the defendant, and not the result of the independent action of
      some third party not before the court. Third, it must be likely, as



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      opposed to merely speculative, that the injury will be redressed by a
      favorable decision.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (cleaned up). These elements

represent “the irreducible constitutional minimum of standing,” id. at 560, and they

are “an indispensable part of the plaintiff’s case,” id. at 561. Stewart cannot show

any of these constitutionally required elements of standing for his claims against the

Texas Tech Defendants.

      A.     Stewart’s alleged injuries are not redressable by any relief that
             could be ordered against the Texas Tech Defendants.

      The third element of standing is perhaps the most foundational in this case.

Stewart has failed to allege any facts showing how it is “likely, as opposed to merely

speculative, that [his alleged] injury will be redressed by a favorable decision.” Lujan,

504 U.S. at 561 (cleaned up).

      Stewart asks this Court to issue an injunction instructing the Texas Tech

Defendants not to use race or sex in their admission decisions. But Stewart has not

alleged that any of the Texas Tech Defendants (or anyone else at TTUHSC)

specifically considered his race or sex in denying his own medical school application,

nor does he allege that anyone at TTUHSC has considered the race or sex of any other

applicant. Thus, he has not alleged any facts showing how his requested injunction

would affect his own attempt(s) to gain admittance to TTUHSC’s highly competitive

School of Medicine. Further, Stewart fails to allege that TTUHSC has any policy that

promotes or even permits consideration of race or sex in admission decisions. In

short, Stewart has failed to allege any facts showing how his requested injunctive



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relief would result in any change at all in how admission decisions are currently made

at TTUHSC. If an injunction would not change any policy or practice of the Texas

Tech Defendants, by definition it would not redress any injury alleged by Stewart.

      Stewart attempts to fill this gaping hole in his pleadings with a lone appeal to

statistics. Stewart’s sole factual allegation against the Texas Tech Defendants is that

according to certain data, “blacks and Hispanics are admitted with much lower MCAT

scores than whites or Asians, and . . . women are admitted with lower MCAT scores

than men.” ECF No. 1 at 11 ¶ 41. As discussed below, this isolated allegation

regarding statistical data is legally insufficient to support any inference that the

Texas Tech Defendants actually use race or sex as factors in their admission

decisions.

      Without any allegations (or evidence) showing that TTUHSC or any of its

officials are using race or sex in their admission decision-making process, Stewart’s

requested injunctive relief amounts to no more than a request for this Court to order

the Texas Tech Defendants to continue doing what they are already doing. That

completely fails the redressability requirement. 1 Even more broadly, it fails to show

a “live dispute” that satisfies the basic constitutional (and jurisdictional) requirement

of an actual case or controversy. Freedom From Religion Found., Inc. v. Abbott, 58



      1 The Supreme Court recently held that universities may not make admission

decisions “on the basis of race.” Students for Fair Admissions, Inc. v. President &
Fellows of Harvard Coll., 143 S. Ct. 2141, 2176 (2023). It is difficult to perceive what
further relief Stewart expects from this Court beyond what the Supreme Court
recently provided. Regardless, Stewart has no controversy against the Texas Tech
Defendants, since they do not use race in their admission decisions and Stewart has
not alleged facts showing otherwise.
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F.4th 824, 831 (5th Cir. 2023) (“Article III restricts our jurisdiction to cases and

controversies. We are therefore permitted to adjudicate only live disputes.” (internal

quotation marks omitted)). Because Stewart has failed to show redressability or any

live controversy between himself and the Texas Tech Defendants, this Court lacks

jurisdiction to adjudicate his claims against those Defendants.

      B.      Stewart cannot show a cognizable injury against the Texas Tech
              Defendants.

      Stewart’s claims fare no better on the other two elements of constitutional

standing. Stewart alleges he suffered injury because the Texas Tech Defendants used

race or sex as a factor in deciding to decline his application for admission to medical

school. Stewart fails to allege specific facts showing any such concrete or actual

injury, beyond mere conjecture.

      As mentioned, Stewart relies solely on statistical data to infer an alleged

injury.    His only factual allegation against the Texas Tech Defendants is that

according to certain data, “blacks and Hispanics are admitted with much lower MCAT

scores than whites or Asians, and . . . women are admitted with lower MCAT scores

than men.” ECF No. 1 at 11 ¶ 41. Such an isolated allegation completely fails to

show a concrete, actual, non-conjectural injury to Stewart.

      Stewart’s entire case against the Texas Tech Defendants rests on the critical

assumption that a medical school should admit applicants based solely, or even

primarily, on their MCAT scores. But that assumption is not plausible on its face

because it is contrary to law.




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      The Texas Legislature has expressly set forth no fewer than eleven different

factors that Texas graduate schools may consider in making admission decisions.

Tex. Educ. Code Ann. § 51.842(a). At least nine of those factors are completely

unrelated to the applicant’s academic performance.          See id.   Thus, Stewart’s

conjecture that a medical school must have considered race or sex simply because of

disparity in test scores is not a reasonable inference. Indeed, it is nothing more than

a speculative, conclusory assertion devoid of any rational or factual support.

      More importantly, the statute expressly prohibits a Texas medical school from

doing exactly what Stewart asks this Court to assume it ought to do. A medical school

may not make an admission decision based simply on an applicant’s MCAT score:

      An applicant’s performance on a standardized test may not be used in
      the admissions or competitive scholarship process for a graduate or
      professional program as the sole criterion for consideration of the
      applicant or as the primary criterion to end consideration of the
      applicant.

Id. § 51.842(b). Thus, even if a medical school wanted to simply use MCAT scores as

the basis for admitting applicants, it could not legally do so.

      In short, Stewart’s entire lawsuit rests on the belief that a medical school

should generally admit the applicants with the highest MCAT scores, regardless of

other factors. Because that would be illegal, Stewart’s whole theory fails as a matter

of law. Stewart’s insistence that a mere statistical disparity in test scores supports

an inference of race-based or sex-based decision-making is completely unsupported

and unsupportable. Because Stewart has not pleaded any facts to support his alleged




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injury of race-based or sex-based decision-making, he has failed to establish the first

element of standing.

      C.     Stewart cannot trace any alleged injury to the Texas Tech
             Defendants.

      Finally, Stewart fails to satisfy the traceability requirement. Specifically, he

fails to show “a causal connection between the injury and the conduct complained of”

because he fails to allege any facts showing how his purported injury is “fairly

traceable to the challenged action of” any of the Texas Tech Defendants. Lujan, 504

U.S. at 560 (cleaned up).

      Again, Stewart’s sole attempt to trace his denial from TTUHSC’s School of

Medicine back to his personal belief that TTUHSC must be using race and sex to

make admission decisions is Stewart’s isolated allegation that there are disparate

test scores between various demographic groups. See ECF No. 1 at 11 ¶ 41. As

discussed, that allegation is completely insufficient to support an inference of any

causal connection.

      First, Stewart has not alleged any facts showing how a mere difference in test

scores could possibly support an inference that race and sex must have been used to

make admission decisions. The Texas Legislature (1) has expressly provided that

state medical schools may consider a host of various non-academic factors in their

admission decisions, and (2) has directly prohibited medical schools from making

admission decisions based simply upon MCAT scores.            Tex. Educ. Code Ann.

§ 51.842(a)–(b). Stewart’s position appears to be: “If medical schools did not consider

race or sex, they would necessarily be admitting the applicants with the highest

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MCAT scores.” The response to that assertion is very simple: “That would be illegal.”

It is illegal for a Texas medical school to simply take the highest MCAT scorers and

admit those individuals to medical school based solely on their superior scores.

Medical schools must consider other factors and must not simply admit the highest

scorers based on their MCAT performance.

      Second, Stewart has not alleged that any individual at TTUHSC specifically

denied his application because of his race or sex. Indeed, Stewart does not even allege

that any of the individuals from Texas Tech he has named as Defendants were

involved in his admission decision at all. Thus, he has failed to trace his denial from

medical school to any of the individuals he has sued. More generally, Stewart has

not alleged that TTUHSC at large has any policy that promotes or permits

consideration of race or sex in admission decisions. Thus, he cannot trace his denial

from medical school to any of the Texas Tech Defendants.              Because Stewart’s

allegations simply do not connect any policy or practice of TTUHSC to Stewart’s own

failure to be admitted to the TTUHSC School of Medicine’s highly competitive class,

Stewart has not shown traceability.

                       *      *     *     *      *        *      *

      Stewart has failed to allege sufficient facts to show the basic constitutional

requirements of standing. Because Stewart has not carried his burden to establish

“the irreducible constitutional minimum of standing,” Lujan, 504 U.S. at 560, this

Court lacks subject matter jurisdiction over Stewart’s claims against the Texas Tech

Defendants. Accordingly, it should dismiss those claims under Rule 12(b)(1).



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II.   Stewart has failed to plead a legally cognizable claim against the
      Texas Tech Defendants.

      Even if Stewart could show standing to bring his claims against the Texas Tech

Defendants, the Court should still dismiss his claims under Rule 12(b)(6) because

they do not meet the federal pleading standard.

      Stewart’s entire case rests on a single accusation—that Defendants are using

race and sex in their admission decisions. But Stewart does not allege that the Texas

Tech Defendants had any policy that permitted consideration of race or sex in their

admission decisions. Further, Stewart does not allege that any of the Texas Tech

Defendants—or anyone else at TTUHSC—considered Stewart’s race or sex in

evaluating his medical school application. 2 In the absence of any such allegations,

Stewart’s claim that the Texas Tech Defendants somehow make admission decisions

based on the race or sex of any applicant (let alone that they made such a decision

based on Stewart’s race or sex specifically) is completely speculative. It lacks “facial

plausibility” because Stewart has not pleaded any specific “factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      Although Stewart attempts to support his hypothesis by statistical data, that

is legally insufficient to show the Texas Tech Defendants use race or sex in admission

decisions. Plaintiff alleges that “blacks and Hispanics are admitted with much lower



      2 As noted above, Stewart does not allege that any of the five individual Texas

Tech Defendants were involved in the decision to reject his application. Thus, at a
minimum, he has failed to allege sufficient facts to justify their presence in this
lawsuit.
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MCAT scores than whites or Asians, and that women are admitted with lower MCAT

scores than men.” ECF No. 1 at 11 ¶ 41. As explained above, alleged disparity in test

scores, even if true, cannot reasonably or plausibly support any inference that race or

sex are used in making admission decisions. Indeed, it would be illegal for the Texas

Tech Defendants to base admission decisions solely on MCAT scores. See Tex. Educ.

Code Ann. § 51.842(b). Instead, they lawfully and legitimately base their decisions

on a multitude of statutory factors, most of which are not related to an applicant’s

academic record—and none of which include race or sex. See id. § 51.842(a).

       In sum, Stewart has not alleged any specific facts that plausibly show how any

of the Texas Tech Defendants purportedly consider race or sex when making

admission decisions. Stewart has certainly not alleged any facts showing how any of

the Texas Tech Defendants allegedly considered his own race or sex when deciding to

deny his application. Accordingly, Stewart has not carried his burden to “state a

claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678. Stewart’s claims

against the Texas Tech Defendants amount to nothing more than “conclusory

allegations, unwarranted factual inferences, or legal conclusions,” which are legally

insufficient. Plotkin v. IP Axess Inc., 407 F.3d 690, 696 (5th Cir. 2005). Thus, this

Court should dismiss Stewart’s claims against the Texas Tech Defendants under Rule

12(b)(6).




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                           CONCLUSION & PRAYER

      For all the foregoing reasons, the Texas Tech Defendants respectfully request

this Court to dismiss all of Plaintiff’s claims against them.      The Texas Tech

Defendants also request such further relief to which they may be entitled.

                                       Respectfully submitted.

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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2023, a true and correct copy of this
document was electronically filed using the Court’s CM/ECF system, which will send
notification of such filing to the following counsel of record:

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